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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 IN RE APPLICATION OF THE
 UNITED STATES OF AMERICA FOR                                 MISC. NO.
 AN ORDER PURSUANT TO
 18 U.S.C. § 3512

Request Seeking Business Records
and Interviews


DOJ Reference Number: CR1VI-182-63755


                        APPLICATION OF THE UNITED STATES
                      FOR AN ORDER PURSUANT TO 18 U.S.C. 4 3512

        The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex paite application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Linda Otani McKinney, Senior Trial Attorney, Office of

International Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor

subsequently designated by the Office of International Affairs), as a commissioner to collect

evidence from witnesses and to take such other action as is necessary to execute a request for

assistance in a criminal matter from the Prosecutor General of the Portuguese Republic

("Portugal"). In support of this application, the United States asserts:

                                      RELEVANT FACTS

       1.      On May 4, 2018, Portugal submitted a request for assistance (hereinafter, the

"Request") to the United States, to which the Convention on Cybercrime, Jan. 7, 2004, Council

of Eur., T.I.A.S. No. 13174, C.E.T.S. No. 185 (hereinafter, the "Treaty") applies. As stated in

the Request, the Investigation and Criminal Prosecution Department of Lisbon is investigating an
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 unauthorized transfer of funds based on forged transfer orders, occurring in or about December

 2010 through March 2011, in violation of the criminal laws of Portugal; namely, embezzlement

 and qualified embezzlement, Articles 217 and 218 of the Portuguese Criminal Justice Act. A

 copy of the applicable law is included as Attachment A to this application. Under the Treaty, the

 United States is obligated to render assistance in response to the Request.

        2.      According to authorities in Portugal, the victim held a bank account, with two

sons, at the former Caixa Geral de Depositos, in Portugal. From in or about December 2010

through March 2011, unknown persons, impersonating the victim and using forged documents,

transferred a total of approximately $210,350 U.S. dollars, through four transfers of funds, from

the victim's bank account, at the former Caixa Geral de Depositos, to three banks in the United

States. These transfers were made without the knowledge or consent of the victim account

holders as follows:

                a. on December 14, 2010, $20,000 was transferred to account number
                   )00000(0713 at Regions Bank, in Marietta, Georgia, purportedly held in the
                   name of the victim;

                b. on January 27, 2011, $79,000 was transferred to account number )00000966
                   at JP Morgan Chase, in Georgia, purportedly held in the name of the victim;

                c. on February 8, 2011, $98,350 was transferred to account number XX)000966
                   at JP Morgan Chase, in Georgia, purportedly held in the name of the victim;
                   and

               d. on March 4, 2011, $13,000 was transferred to account number
                  )00(XXXXX7111 at Bank of America, in Charlotte, North Carolina, held in
                  the name of George Warwick.

       3.      To further the investigation, authorities in Portugal have asked U.S. authorities to

provide records pertaining to account number XXXXXXO713 at Regions Bank, account number

XXXXX9966 at JP Morgan Chase, and account number )0000000(7111 at Bank of America.




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 Additionally, Portuguese authorities seek interviews of the holder(s) and/or beneficiaries ident fied

 through the records obtained for each of the accounts.

                                      LEGAL BACKGROUND

                                              The Treaty

        4.      A treaty constitutes the law of the land. U.S. Const. art. VI, c1.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally "to give effect to the purpose which animates it." United States v.

Stuart, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

        5.      The United States and Portugal entered into the Treaty to promote more effective

cooperation and assistance between the parties in criminal matters. See Treaty pmbl. The Treaty

obligates each party, upon request, to provide "mutual assistance to the widest extent possible for

the purpose of investigations or proceedings concerning criminal offences related to computer

systems and data, or for the collection of evidence in electronic form of a criminal offence."

Treaty chap. III, § 1, tit. 3, art. 25, ¶ 1. In addition, the Treaty provides that "[e]ach Party shall

also adopt such legislative and other measures as may be necessary to carry out the obligations

set forth in . . . [the Treaty] . . ." Treaty Chap. III, §3, tit. 1, art.25, ¶ 2. 18 U.S.C. § 3512

authorizes federal courts to use compulsory measures to further the execution of such requests.
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                                             18 U.S.C. § 3512

           6.       When executing a treaty or non-treaty request for assistance from a foreign

 authority, an attorney for the government may file an application to obtain any requisite court

 orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

 provides in pertinent part:

          Upon application, duly authorized by an appropriate official of the Department of
          Justice, of an Attorney for the Government, a Federal judge may issue such orders
          as may be necessary to execute a request from a foreign authority for assistance in
          the investigation or prosecution of criminal offenses, or in proceedings related to
          the prosecution of criminal offenses, including proceedings regarding forfeiture,
          sentencing, and restitution.



          [A]n application for execution of a request from a foreign authority under this
          section may be filed. . . in the District of Columbia.



          The term "foreign authority" means a foreign judicial authority, a foreign
          authority responsible for the investigation or prosecution of criminal offenses or
          for proceedings related to the prosecution of criminal offenses, or an authority
          designated as a competent authority or central authority for the purpose of making
          requests for assistance pursuant to an agreement or treaty with the United States
          regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

          7.       Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.1 This section provides clear authority for the federal courts, upon application duly


1 Priorto the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §

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    authorized by an appropriate official of the Department of Justice, to issue orders which are

    necessary to execute a foreign request.

           8.      An application is duly authorized by an appropriate official of the Department of

    Justice when the Office of International Affairs, which serves as the "Central Authority" for the

    United States, has reviewed and authorized the request, and executes the request itself or

    delegates execution to another attorney for the govemment.2 Upon such a duly authorized

    application, Section 3512 authorizes a federal judge3 to issue "such orders as may be necessary

    to execute [the] request," including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for

    electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices

    under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or

    statements and/or the production of documents or other things. See 18 U.S.C. § 3512(a)(1)-

(b)(1). In addition, a federal judge may prescribe any necessary procedures to facilitate the

execution of the request, including any procedures requested by the foreign authority to facilitate

its use of the evidence. See In re Letter of Request from the Crown Prosecution Service of the

United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing

procedures to be followed in executing foreign request under 28 U.S.C. § 1782); cf. White v.



3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247-49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).

2 The Attorney General, through regulations and Department of Justice 'directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and 81B.

3The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).

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 National Football League, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary

 to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

        9.      Section 3512 also authorizes any person appointed to direct the taking of

 testimony or statements and/or the production of documents or other things to: (1) issue an order

 requiring a person to appear and/or produce documents or other things; (2) administer any

 necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other

things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or

other things, the person appointed, commonly referred to as the "commissioner," typically uses a

subpoena entitled "Commissioner Subpoena." Any such subpoena or any other order, subject to

subsection (d), may be served or executed anywhere in the United States. 18 U.S.C. § 3512(4

A copy of a "Commissioner Subpoena" is included as Attachment B.

                                     REQUEST FOR ORDER

        10.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner, to collect evidence from witnesses and to take such

other action as is necessary to execute the Request, has been "duly authorized" within the

meaning of Section 3512. In addition, the Request was submitted by an appropriate "foreign

authority," i.e., the Prosecutor General of Portugal, the authority designated under Portuguese

law to make such requests, and the Request seeks assistance in the investigation of —illegal

computer access—a criminal offense in Portugal. Furthermore, the requested Order is necessary

to execute the Request, and the assistance requested, i.e., the production of bank records and the

compulsion of an interview, falls squarely within that contemplated by Section 3512. Finally,

this application was properly filed in the District of Columbia.



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        11.     This application is being made ex parte, consistent with the United States'

 practice in its domestic criminal matters. Both Sections 3512 and the Treaty authorize the use of

 compulsory process in the execution of treaty requests comparable or similar to that used in

domestic criminal investigations or prosecutions. Because subpoenas used in U.S. criminal

proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to any

person other than the recipient (i.e., no notice to targets or defendants), orders and commissioner

subpoenas issued in execution of a request pursuant to Section 3512 likewise should require no

notice other than to the recipients. This is true even if the Requesting State, as here, seeks

financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,

including its notice provisions, does not apply to the execution of foreign requests for legal

assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633, 639(2d Cir. 1989), cert. denied, 493

U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.

204, 211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this

Court should authorize a commissioner to collect the evidence requested without notice to any

person other than the recipients of the commissioner subpoenas.

       12.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Linda Otani

McKinney, Senior Trial Attorney, Office of International Affairs (or a substitute or successor

subsequently designated by the Office of International Affairs) as a commissioner and




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authorizing the undersigned to take the actions necessary, including the issuance of a

commissioner subpoena(s), to obtain the evidence requested in a form consistent with the

intended use thereof.

                                             Respectfully submitted,

                                             VAUGHN A. ARY
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